                     Case
                      Case3:22-cv-05311-JD
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                      NorthernDistrict
                                                   __________ Districtof
                                                                       of__________
                                                                         California

                       EZBON PRYOR                                               )
                                                                                 )
                                                                                 )
                                                                                 )
                            Plaintiff(s)                                         )
                                                                                 )
                                v.                                                                Civil Action No. 3:22-cv-05311-JD
                                                                                 )
   U-HAUL CO. OF CALIFORNIA; AMERCO REAL                                         )
         ESTATE COMPANY; AMERCO                                                  )
                                                                                 )
                                                                                 )
                           Defendant(s)                                          )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) U-HAUL CO. OF CALIFORNIA: 330 N. Brand Blvd., Suite 700, Glendale, CA 91203
                                           AMERCO REAL ESTATE COMPANY: 330 N. Brand Blvd., Suite 700, Glendale, CA
                                           91203
                                           AMERCO: 330 N. Brand Blvd., Suite 700, Glendale, CA 91203




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: PAUL L. REIN, Esq. (SBN 43053)
                                           AARON M. CLEFTON, Esq. (SBN 318680)
                                           Rein & Clefton, Attorneys at Law
                                           200 Lakeside Drive, Suite A
                                           Oakland, CA 94612


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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          September 20, 2022
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Date:
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